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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY




     United States of America                           Criminal Action
                                                        208-cr-327 (SRC)
             Plaintiff

     V.
                                                        ORDER RE
     Andrew Merola                                      BAIL CONDITIOtIS

            Defendant




            There     being a wrestling        tournament    in   Hampton Virginia           and

     the    United    States    Attorneys      Office    having   no   objection        to   the


     relief    requested       herein    and   Pretrial     Services     having       approved

     this request and for good cause shown

            It is on this         day of December 2009

            ORDERED AND ADJUDGED as føilows

              1.   Subject     to a   schedule set by Pretrial           Services,     Andrew

    Merola     may    travel    with    his    wife   and   children      to    a   wrestling

    tournament       in which his       son is participating       in Hampton Virginia

    on     December    8-20.     Mr.     Merola   may    leave    with    his       family   on


    December 17.
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